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‘FEDERAL COURT’ oy Et ay
AT Pp eg
‘DISTRICT COURT OF THE UNITED STATES; gp no spies

FOR NEW MEXICO INS
Eugene-G: Pettit )
men and women, see attachment )
The people of this State Coram Ipso Rege:' _)

Coram Nobis:? J
-a- ) CV- a3 ° 3G] . .
) Nature of case: Injunction
Dofia Ana County Commissioners ) Nature of Claim: Sovereign Immunity
in their private capacity, acting )
1. Christopher - Hernandez: Schaljo ) 11" Amendment violation
2. Diana: Murillo )
3. Shannon: Reynolds )
4.Manuel-A: Sanchez ) MEMORANDUM OF LAW
5. Attorney(s), Law Enforcement(s), Actors )
Wrongdoers:? )
INJUNCTION
Tue Kines Bencu

THE PURPOSE Of this memorandum is to clarify that the King’s Bench is the authority of the court
and that a court of record is a court that proceeds according to the common law under the
authority of the People.

A “court of record" is a judicial tribunal having attributes and exercising functions
independently of the person of the magistrate designated generally to hold it, and proceeding
according to the course of common law, its acts and proceedings being enrolled for a perpetual
memorial. Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte Gladhill, 8 Metc.,
Mass., 171, per Shaw, C. J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689.
Article tll, United States Constitution.

In accordance with the Judicial Department Article III, United States Constitution

1 Before the king himself the old name of the court of king's bench, which was originally held before the king in person.

3 BI.Comm. 41. “The people of this State, as the successors of its former sovereign, are entitled to all the rights which formerly
belonged to the King by his prerogative”. Lansing v. Smith, 4 Wend. 9 (N.Y.) (1829), 21 Am. Dec. 89 10C Const. Law Sec. 298; 18
CEm.Dom. Sec. 3, 228; 37 C Nav.Wat. Sec. 219; Nuls Sec. 167; 48 C Wharves Sec. 3, 7. [tribunal during trial]

2 [Blacks Law] Before us ourselves, (the king, i. e., in the king's or queen's bench.) [tribunal pre-trial] CORAM NOBIS.
[Blacks Law] Before us ourselves, (the king, i. e., in the king's or queen's bench.) Applied to writs of error directed to another
branch of the same court, e. g., from the full bench to the court at nisi prius. 1 Archb. Pr. K. B. 234. See Writ of Error.
3 WRONGDOER. “One who commits an injury; a tort-feasor. The term ordinarily imports an invasion of right to the damage of
the party who suffers such invasion”. Merrill v. Comstock, 154 Wis. 434, 143 N.W. 313, 317.

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union of the several states, the states united, united states in Congress assembled,
these united States of America, The united states of America, The United States of America,
The United States (intent or defined to be the original or organic)

a "Republic" having its beginning with the colonial resistance against England's tyrannical
government.

".., at the Revolution, the sovereignty devolved on the people, and they are truly the sovereigns
of the country, but they are sovereigns without subjects, and have none to govern but themselves;
the citizens of America are equal as fellow citizens, and as joint tenants in the sovereignty ...
Sovereignty is the right to govern; a nation or State sovereign is the person or persons in whom
that resides. In Europe, the sovereignty is generally ascribed to the Prince; here, it rests with the
people; there, the sovereign actually administers the government; here, never in a single instance;
our Governors are the agents of the people, and, at most, stand in the same relation to their
sovereign in which regents in Europe stand to their sovereigns. Their Princes have personal
powers, dignities, and preeminences; our rulers have none but official; nor do they partake in the
sovereignty otherwise, or in any other capacity, than as private citizens.”

--Supreme Court of the United States
2 US 419 (February 1794)
Chisholm v. Georgia
Chief Justice: Jay, John
Argued: February 5, 1793
Decided: February 18, 1793

Four Organic Written Laws
of the 50 states united are:

Declaration of Independence, July 4,1776,

Articles of Confederation, Nov. 15,1777,

The Constitution, Sept. 17, 1787
Northwest Ordinance, July 13, 1787
These Organic Laws are also found in the
United States Code, Volume 1

Also, Wikipedia; search for "Organic Laws"

a de jure form of government of right; legitimate; lawful; by right and just title; "by law"
--Black's Law Dictionary sixth edition

In accordance with the Executive Department Article II, United States Constitution

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The Administrative Court also known as the British Court of Chancery:

The UNITED STATES, the UNITED STATES OF AMERICA, THE UNITED STATES
OF AMERICA (all capital letters—a fiction—a corporation the United States of
America, the United States (intent or defined to be the corporate US,)

Started with: Gettysburg Address in 1864, and the Incorporation of District of
Columbia by (Presidential) Legislative Act of February 21, 1871, under the
Emergency War Powers Act and the Reconstruction Acts.

Then reorganized June 11, 1878 --16 Stat. 419 Chapter 62

In UNITED STATES CODE, (USC) Title 28, in Section 3002 Definitions, it
states the following: (15) "United States" means— (A) a Federal corporation;

Corporate Officers " ... But by the Act of June 11, 1878 (20 Stat. chap. 180), a
permanent form of government for the District was established. It provided ...and
that the commissioners therein provided for should be deemed and taken as

officers of such corporation."
See The District of Columbia v. Henry E. Woodbury, 136 U.S. 472 (1890)

To incorporate means to become a part of something bigger. Some people believe
it is incorporated with England or the crown and the paperwork is filed in
Puerto Rico.

Imposter: This so-called government is an imposter posing and or masquerading
as the original government.

a de facto government: In fact, in deed, actually; a state of affairs; but is illegal or
illegitimate; "by equity" and not “by law"; is not constitutional. Thus an officer,
king. or government de facto is in actual possession, but by usurpation, or without
lawful title. --Black's Law Dictionary sixth edition

This injunction under the 11% Amendment known as the “Sovereign Immunity”
Amendment for the people of this State:

Count 1:

Violation “no law respecting an establishment of religion, or the exercise thereof” National Day
of Prayer Proclamation dated April 25, 2023

Count 2:

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Violation “the right of the people to peaceably to assemble” they violated our right to assemble
at the Dofia Ana County north lawn at the county commission meeting on April 25, 2023.
National Day of Prayer is an annual day of observance held on the first Thursday of May,
designated by the United States Congress when people are asked to turn to God in prayer and
meditation. The president is required by law (36 U.S.C. §119) to sign a yearly proclamation
encouraging all Americans to pray on this day and scheduled at the county on May 4, 2023.
Dofia Ana County has hosted National Day of Prayer on the north lawn since 2015, except for
two years due to covid.

Dofia Ana County Commissioners, Christopher-Hernandez: Schaljo, Diana: Murillo,
Shannon: Reynolds, Manuel-A: Sanchez, Attorney(s), Law Enforcement, or any government
official(s) violating the 1* Amendment counts and the reason for this injunction is to stop there
action in their acting capacity for their Un-Constitutional Corporate policy(s) they represent.

Congress shall make no law respecting an establishment of religion, or prohibiting the
free exercise thereof; or abridging the freedom of speech, or of the press, or the right of
the people peaceably to assemble, and to petition the Government for a redress of
grievances. See 1* Amendment, United States Constitution

Congress shall make no law respecting an establishment of religion, or prohibiting the
free exercise thereof; or abridging the freedom of speech, or of the press, or the right of
the people peaceably to assemble, and to petition the Government for a redress of
grievances. See 1* Amendment, United States Constitution

Every court is “bound” to obey the common law.

SUPREMACY CLAUSE - “This Constitution, and the laws of the United States which
shall be made in pursuance thereof; and all treaties made, or which shall be made, under
the authority of the United States, shall be the supreme law of the land; and the judges in
every state shall be bound thereby, anything in the Constitution or laws of any State to
the contrary notwithstanding.” Article VI

“_.. Thus, the particular phraseology of the constitution of the United States confirms and
strengthens the principle, supposed to be essential to all written constitutions, that a law
repugnant to the constitution is void, and that courts, as well as other departments, are
bound by that instrument.” after more than 200 years this decision still stands.

“If any statement, within any law, which is passed, is unconstitutional, the whole law is
unconstitutional.” Marbury v. Madison: 5 US 137 (1803):

“ .. that statutes which would deprive a citizen of the rights of person or property without
a regular trial, according to the course and usage of common law, would not be the law
of the land.” Hoke vs. Henderson, 15, N.C.15,25 AM Dec 677].

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"Where rights secured by the Constitution are involved, there can be no rule making or
legislation which would abrogate them" Miranda v. Arizona, 384 U.S. 436, 491

A court of record proceeds according to common law who’s tribunal, We the People functioning
independently of the magistrate:

"A Court of Record is a judicial tribunal having attributes and exercising functions
independently of the person of the magistrate designated generally to hold it, and
proceeding according to the course of common law, its acts and proceedings being
enrolled for a perpetual memorial". Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227,
229; Ex parte Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v.
Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689.

Only court’s of record can fine and incarcerate.

“Courts of Record and Courts not of Record the former being those whose acts
and judicial proceedings are enrolled, or recorded, for a perpetual memory and
testimony, and which have power to fine or imprison for contempt. Error lies to
their judgments, and they generally possess a seal. Courts not of record are those
of inferior dignity, which have no power to fine or imprison, and in which the
proceedings are not enrolled or recorded". 3 B\. Comm. 24; 3 Steph. Comm. 383;
The Thomas Fletcher, C.C.Ga., 24 F. 481; Ex parte Thistleton, 52

Judges are magistrates and not the tribunal they possess no power to make a ruling (judgment):

"Acts and judicial proceedings are enrolled, or recorded, for a perpetual memory
and testimony; proceeds according to the course of common law; has power to
fine or imprison for contempt; possesses a seal; it’s judicial tribunal has
attributes and exercising functions independently of the person of the magistrate
designated generally to hold it." Ex parte Watkins, 3 Pet., at 202-203. [cited by
SCHNECKLOTH v. BUSTAMONTE, 412 U.S. 218, 255 (1973).

The judicial executive branch have turned the New Mexico State Supreme Court into a nisi prius
court not of record thereby becoming a hybrid, combining a statutory and chancery court, both
without the approval of the king, whereas justice can never be served.

“This maxim is applied by Lord Coke to courts, and, terms of law; minoritas
being understood in the sense of difference, inferiority, or qualification. Thus, the
style of the king's bench is coram rege, and the style of the court of chancery is
coram domino rege in cancellaria; the addition showing the difference.” 4 Inst.
80. 2 Bl.Comm. 106; Litt. §1.

Statutory courts (officers of the court) cannot second-guess the judgment of a court of record and
are subject to collateral attack by the court of record (sovereigns of the court).

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“The decisions of a superior court may only be challenged in a court of appeal.
The decisions of an inferior court are subject to collateral attack. In other words,
in a superior court one may sue an inferior court directly, rather than resort to
appeal to an appellate court. Decision of a court of record may not be appealed.
It is binding on ALL other courts. However, no statutory or constitutional court
(whether it be an appellate or supreme court) can second guess the judgment of a
court of record. The judgment of a court of record whose jurisdiction is final, is
as conclusive on all the world as the judgment of this court would be. It is as
conclusive on this court as it is on other courts. It puts an end to inquiry
concerning the fact, by deciding it." Ex parte Watkins, 3 Pet., at 202-203. [cited
by SCHNECKLOTH v. BUSTAMONTE, 412 U.S. 218, 255 (1973).

The People are the king and the king’s bench is the Judge, Jury, grand or trial, only the
sovereign people can be the tribunal.

CORAM IPSO REGE. “Before the king himself the old name of the court of king's
bench, which was originally held before the king in person.” 3 BI.Comm. 41.

“The people of this State, as the successors of its former sovereign, are entitled to
all the rights which formerly belonged to the King by his prerogative” .

Lansing v. Smith, 4 Wend. 9 (N.Y.) (1829), 21 Am. Dec. 89 10C Const. Law Sec.
298; 18 C Em.Dom. Sec. 3, 228; 37 C Nav.Wat. Sec. 219; Nuls Sec. 167; 48 C
Wharves Sec. 3, 7.

KING'S BENCH. [Blacks Law] “The supreme court of common law in England,
being so called because the king used formerly to sit there in person, the style of
the court being coram ipso rege." See 3 BI.Comm. 41-43.

CORAM NOBIS. [Blacks Law] Before us ourselves, (the king, i. e., in the king's or
queen's bench.) Applied to writs of error directed to another branch of the same
court, e. g., from the full bench to the court at nisi prius. 1 Archb. Pr. K. B. 234.
See Writ of Error.

TRIBUNAL. The seat of a judge; the place where he administers justice; but by this term
is more usually understood the whole body of judges [jury] who compose a jurisdiction
sometimes it is taken for the jurisdiction which they exercise.

ONLY THE KING (PEOPLE) IS SOVEREIGN -— the state is a clipped sovereignty
New Mexico Constitution Article 2 Bill of Rights Sec. 3

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The people of the State have the sole and exclusive right to govern themselves as
a free, sovereign, and independent State.

New Mexico Constitution Article 2 Bill of Rights Sec. 5

The rights, privileges, and immunities, civil, political, and religious, guaranteed to
the people of New Mexico by the Treaty of Guadalupe Hidalgo shall be preserved
inviolate.

“A consequence of this prerogative is the legal ubiquity of the king. His majesty in
the eye of the law is always present in all his courts, though he cannot personally
distribute justice. His judges are the mirror by which the king's image is
reflected”. (Fortesc.c.8. 2Inst.186) [1 Blackstone's Commentaries, 270, Chapter
7, Section 379]

“Sovereignty itself is, of course, not subject to law, for it is the author and source
of law; but in our system, while sovereign powers are delegated to the agencies
of government, sovereignty itself remains with the people, by whom and for
whom all government exists and acts And the law is the definition and limitation
of power...” [Yick Wo v. Hopkins, 118 US 356, 370 Quotiens dubia interpretatio
libertatis est, secundum libertatem respondendum erit]

"The very meaning of 'sovereignty' is that the decree of the sovereign makes
law." [American Banana Co. v. United Fruit Co., 29 S.Ct. 511, 513, 213 U.S. 347,
53 L.Ed. 826, 19 Ann.Cas. 1047].

“In United States, sovereignty resides in people. The Congress cannot invoke the
sovereign power of the People to override their will as thus declared.”
[Perry v. US, 294 U.S330]

“It is the public policy of this state that public agencies exist to aid in the conduct
of the people's business.... The people of this state do not yield their sovereignty
to the agencies which serve them. ...at the Revolution, the sovereignty devolved
on the people; and they are truly the sovereigns of the country, but they are
sovereigns without subjects...with none to govern but themselves...” CHISHOLM
v. GEORGIA (US) 2 Dall 419, 454, 1 L Ed 440, 455 @DALL (1793) pp471-472.

EXTRAORDINARY WRITS are the King’s (Sovereign’s) Remedy

Therefore, the wish of the King is your command.

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EXTRAORDINARY REMEDIES. The writs of mandamus (We Command), quo warranto (Kings
inquiry of usurpers), habeas corpus (release from unlawful imprisonment), and some others are
sometimes called "extraordinary remedies," in contradistinction to the ordinary remedy by

action. Receivership is also said to be an. "extraordinary remedy." Prudential Securities Co. v.
Three Forks, H. & M. V. R. Co., 49 Mont. 567, 144 P. 158, 159.

An extraordinary writ, issued by a superior court to an inferior court to prevent the latter from
exceeding its jurisdiction, either by prohibiting it from assuming jurisdiction in a matter over

which it has no control, or from going beyond its legitimate powers in a matter of which it has
jurisdiction. State v. Medier, 19 N.M. 252, 142 P. 376, 377.

An extraordinary judicial writ issuing out of a court of superior jurisdiction, directed to an

inferior court or tribunal exercising judicial powers, for the purpose of preventing the inferior
tribunal from usurping a jurisdiction with which it is not lawfully vested, (State v. Stanfield, 11
Okl.Cr. 147, 143 P. 519, 522): from assuming or exercising jurisdiction over matters beyond its
cognizance, (Jackson v. Calhoun, 156 Ga. 756, 120 S.E. 114, 115); or from exceeding its
jurisdiction in matters of which it has cognizance. (Jackson v. Calhoun, 156 Ga. 756, 120 S.E.
114, 115).

QUO WARRANTO. In oid English practice. A writ, in the nature of a writ of right for the king, |
against him who claimed or usurped any office, franchise, or liberty, to inquire by what
authority he supported his claim, in order to determine the right. It lay also in case of non-
user, or long neglect of a franchise, or misuser or abuse of it; being a writ commanding the
defendant to show by what warrant he exercises such a franchise, having never had any grant
of it, or having forfeited it by neglect or abuse. 3 Bl.Comm. 262.; An extraordinary proceeding,
prerogative in nature, addressed to preventing a continued exercise of authority unlawfully
asserted. Johnson v. Manhattan Ry. Co., N.Y., 53 S.Ct. 721, 289 U.S. 479, 77 L.Ed. 1331.; It is
intended to prevent exercise of powers that are not conferred by law, and is not ordinarily
available to regulate the manner of exercising such powers. State ex rel. Johnson v.
Conservative Savings & Loan Ass'n, 143 Neb. 805, 11 N.W.2d 89, 92, 93.

Persons acting under the color of law include:

Police officers, prison guards, other law enforcement officials, judges, care providers in public
health facilities, and all others who are acting as public officials.

Color of law is synonymous with state action.

Deprivation of Rights Under Color of Law

Section 242, Title 18 of the U.S. Code makes it a crime for a person acting under color of any
law to willfully deprive a person of a right or privilege protected by the Constitution or laws of
the United States. The acts under the ‘color of law’ for this section, include those done by
officials within their lawful authority; and also acts done beyond their authority, if they pretend
to have done the acts as a performance of their official duties.

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Examples of Violations of Color of Law

Officials have been given certain powers, like making an arrest, stopping and searching with a
search warrant, traffic stops, seizure of belongings, etc. However, there are occurrences when
they misuse their powers, and cases of ‘color of law’ abuse come up. Most of these cases
investigated by the Federal Bureau of investigation involve crimes of the following nature:

1. False Arrest According to the Fourth Amendment to the U.S. Constitution, citizens have a
right against unreasonable searches and seizures. A law enforcement officer can, due to the
authority under color of law, stop individuals, and in certain cases also search them and keep
their property. If the official illegally holds onto your property, or detains you unlawfully, it is an
abuse of the color of law. This may result in the violation of a person’s civil rights.

An arrests made by fabricating some evidence against someone counts as a false arrest, and
also amounts to an abuse of color of law.

2. Excessive Force Government officials are allowed to use force in certain circumstances. They
can use force wherever it is ‘reasonably’ necessary while making arrests, maintaining order, or
even as defense. Federal law is violated when it is observed and proven that the force used ina
particular situation was excessive or unreasonable. Use of undue force during an arrest or
detention is punishable.

3. Sexual Assault If officials use their positions of authority to force an individual into sexual
acts, in jails, during traffic stops, or in similar instances, it violates the color of law. Compliance
by the victim in such cases comes out of the fear of the authoritative position of the official.

Conclusion

The Kings bench is the seat of the tribunal (judge) for the supreme court of common law (court
of record) made up of one or more sovereigns, with the power to fine or imprison for contempt
and functions independently of the person of the magistrate. Therefore, the kings bench can
only be the Jury (grand or the petite) or the sovereign of the court. Whenever the Kings Bench
is impaneled "by the people” a Court of Record is open whether it is in its investigative role
(Grand Jury) or in its pre-trial mode (Petite Jury) its authority, power, judgments, and
jurisdiction is final and cannot be challenged or overturned. All courts not of record (without
the kings bench) are inferior courts whose jurisdiction is limited and special and whose
proceedings are not according to the course of the common law. Criminal courts proceed
according to statutory law. Jurisdiction and procedure is defined by statute. Likewise, civil

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courts and admiralty courts proceed according to statutory law. Any court proceeding
according to statutory law is not a court of record (which only proceeds according to common
law); it is an inferior court.

Extraordinary writs emanate from the Kings Bench, and although the tribunal is usually a body
of judges, twelve or twenty-five, it can also be executed by the King (people) himself, and can
only be refuted by the sworn affidavit of another King (people). These extraordinary writs are
extraordinary “REMEDIES”.

The Kings Bench is the Jury, grand or trial, and the magistrate is bound to obey the wish (will) of
the King, The people of this States.

The remedy in this case:

Injunction “to stop” the people in their “acting capacity” as STATE OF NEW MEXICO officials in
their private capacity and acknowledge the “Sovereign Immunity” protection of the 11*
Amendment in accordance with Supreme Court of the United States case ex parte Young.

This Injunction is to stop the violation of rights of the Officer(s) Clerk(s), and Judge(s) in the
county of Dofia Ana, New Mexico, and STATE OF NEW MEXICO.

We act as living beings naturally belonging to the land jurisdiction known as the Supreme Law
of the Land of the Continental United States and acting thereon without any privilege of
Incorporation and desirous of none, under penalty of perjury should we be found to have
knowingly erred or purposefully obfuscated any facts herein presented. Here are our
autographs and our seals presented by the flesh and in the flesh and in our own right without
the Federal United States, without any corporate office, without representation of any kind,
being Witnessed by these other living souls who are also present in the flesh and standing upon
the land jurisdiction of the Continental United States and whose autographs and seals similarly
appear as Witnesses before the courts of the world addressed and summoned and before
seven-billion-people world-wide--- all of whom have been harmed in some respect by those
who have committed wron rpetuated these acts of fraud:

Seal

13325 Robledo Vista Road?
Las Cruces, New Mexico [8800

"§998]

non-negotiable autograph of Eugene-G: Pettit a living Male and inhabitant of the land
jurisdiction of the New Mexico State and a birthright entitlement holder of the Michigan State
acting in the flesh without the Federal United States and all rights reserved.

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Whose acts in making, issuing, publishing, this Injunction, The King’s Bench has been Witnessed
this 2& —_ dayof APRS 2023 by the following living Witnesses.

ld,
Chrarbes -Arloend le *

non-negotiable auto Bere “Vpn
of the land Janis Of thest

Ms ine
ae \ G- NP

non-negotiable autograph af£lia—™: fot it a living Male o(Femal@and inhabitant
of the land jurisdiction of the New Mexico State and a birthright entitlement holder of the New
Mexico State acting in the flesh without the Federal United States and all rights reserved.

Seal

a Winger Female and inhabitant
a birthright entitlement holder of the New

efiesh without the Federal United States and all rights reserved.

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Seal

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Notice to Agent is Notice to Principals
Notice to Principals is Notice to Agents
Public Notary Provides Additional Witness-Without Transfer to Federal Jurisdiction:

New Mexico State )

)
Dona Ana County )

AFFIRMED: On this day of Ave, | 2023 before Qcenlt Mela

A public notary appeared the living man known to the public as Expect. G. (Fett

Duly sworn without the Federal United States and did depose and autograph and seal this
Injunction The King’s Bench and these words and actions were additionally witnessed by these
three living souls autographs and seals also appear on this document and who presented good

and oe 7 identity to me this day as Witnesses to the same.
Seal Public Notary.

My commission expires on SST 2025—

BRENDA NEBHAN
NOTARY PUBLIC
STATE OF NEW MEXICO
COMMISSION # 1107502
COMMISSION EXPIRES: 03- 15-2025

Seal

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